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13

14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16    IN RE: ROUNDUP PRODUCTS                       Case No.: 3:16-cv-05658-VC
      LIABILITY LITIGATION
17                                                  MDL No. 2741
18                                                  DEFENDANT MONSANTO COMPANY’S
      Dickey v. Monsanto Co., 3:19-cv-04102-VC      MOTION TO EXCLUDE TESTIMONY
19                                                  OF DR. CHARLES BENBROOK
      Domina v. Monsanto Co., 3:16-cv-05887-VC
20    Giglio v. Monsanto Co., 3:16-cv-05658-VC        Hearing date: Jan. 29, 2020
                                                      Time:
21    Janzen v. Monsanto Co., 3:19-cv-04103-VC
      Mendoza v. Monsanto Co., 3:19-cv-06046-VC
22
      Perkins v. Monsanto Co., 3:16-cv-06025-VC
23    Pollard v. Monsanto Co., 3:19-cv-04100-VC
24    Russo v. Monsanto Co., 3:16-cv-06024-VC
      Sanders v. Monsanto Co., 3:16-cv-05752-VC
25
      Tanner v. Monsanto Co., 3:19-cv-04099-VC
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 1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2   PLEASE TAKE NOTICE THAT beginning on January 29, 2020, in Courtroom 4 of the
 3   United States District Court, Northern District of California, located at 450 Golden Gate Avenue,
 4   San Francisco, CA 94102, or as ordered by the Court, Defendant Monsanto Company
 5   (“Monsanto”) will present its Motion to Exclude Testimony of Dr. Charles Benbrook. Monsanto
 6   seeks an order excluding opinion of this witness under Daubert v. Merrell Dow
 7   Pharmaceuticals, Inc., 509 U.S. 579 (1993).
 8

 9   DATED: November 26, 2019
10                                                 Respectfully submitted,
11                                                 /s/ Brian L. Stekloff___________
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12                                                 (bstekloff@wilkinsonwalsh.com)
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 1   I.      INTRODUCTION
 2           Plaintiffs designated Charles Benbrook, Ph.D., an agricultural economist, to offer
 3   opinions on several broad topics, primarily relating to the regulation and labeling of glyphosate-
 4   based herbicides (“GBH”) and Monsanto’s corporate conduct.            The vast majority of Dr.
 5   Benbrook’s “opinions,” however, are not expert opinions at all, but rather his personal views
 6   based on a slanted narrative that Plaintiff wants to tell the jury. Dr. Benbrook’s reports and
 7   deposition testimony make clear that, if left unchecked, he intends to simply summarize
 8   Monsanto and EPA documents of which he has no personal knowledge, provide his
 9   “interpretation” of those documents, and tell the jury what Monsanto allegedly knew, thought, or
10   intended. These are not the proper subjects of expert testimony.
11           Indeed, Dr. Benbrook has been prohibited from offering this type of testimony in all three
12   prior Roundup trials. During the Hardeman trial, this Court correctly ruled that Dr. Benbrook’s
13   proffered opinions about the regulatory history of GBHs were inadmissible because they were
14   not the proper subject of expert testimony and Dr. Benbrook was not qualified to offer them.
15   The opinions proffered in these cases are no different and should be excluded.
16           First, Dr. Benbrook does not have the requisite expertise to opine about any of the
17   subjects on which he has been offered to testify.       Second, qualifications aside, it is well-
18   established that an expert may not act as a storyteller for a plaintiff to narrate a defendant’s
19   documents or speculate about a defendant’s state of mind, intent, or knowledge. To allow a
20   witness to testify as to his personal opinion about a party’s intent or state of mind—under the
21   guise of “expert” opinions—would invade the jury’s function. Third, it is the role of the judge,
22   not a purported “expert,” to instruct the jury about the law and the company’s obligations under
23   the law. Fourth, much of Dr. Benbrook’s proposed testimony is preempted by federal law. At
24   bottom, Dr. Benbrook’s opinions amount to nothing more than improper speculation based on
25   his own subjective beliefs. He should not be allowed to present them to the jury.
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 1   II.     BACKGROUND
 2           Dr. Benbrook is an agricultural economist who Plaintiffs have designated to testify about
 3   the following seven subjects: (1) the regulatory history of glyphosate and glyphosate-based
 4   formulations, including Roundup; (2) the interaction between EPA and Monsanto in relation to
 5   the registration and re-registration of Roundup formulations; (3) the labeling responsibilities of
 6   pesticide manufacturers under federal regulation; (4) the stewardship obligations of a pesticide
 7   manufacturer; (5) whether certain publications related to glyphosate were “ghost-authored” by
 8   Monsanto; (6) whether Monsanto’s publication planning and conduct comport with prevailing
 9   ethical and scientific/academic standards; and (7) the sufficiency of the Roundup label during all
10   relevant times. See Declaration of Brian Stekloff Ex. 1, Giglio Rule 26 Expert Disclosures.1
11           In every Roundup trial to date, the court has excluded the vast majority of Dr.
12   Benbrook’s opinions as inadmissible.2 In Hardeman v. Monsanto Co., 3:16-cv-00525 (N.D.
13   Cal.), this Court initially excluded Dr. Benbrook’s testimony in its entirety, correctly recognizing
14   that “plaintiffs propose[d] to use Dr. Benbrook to present opinions on virtually every aspect of
15   their case.” Ex. 2, Pretrial Order No. 111. In response to that ruling, Plaintiffs articulated four
16   topics on which Dr. Benbrook would testify: (1) early EPA action of Glyphosate and the IBT
17   story; (2) Monsanto’s refusal to study the formulated product; (3) Monsanto’s termination of
18   TNO after it demonstrated elevated rates of dermal absorption; and (4) ghostwriting. Regarding
19   these four topics, Judge Chabbria stated:
20                   So Benbrook I think is easy. I don’t need to hear any further
                     argument on it. The three – the – first three items that – that you
21                   propose to testify about, I do not think are properly the subject of
                     expert testimony. They are factual narrative. The information that
22                   you say you want to get out of Benbrook, you should be able to or
                     should have been able in deposition – been able to get that
23
     1
24    All exhibits referenced are attached to the declaration of Brian Stekloff. Plaintiffs in these Wave 1 cases
     served largely identical expert disclosures for Dr. Benbrook.
25   2
      See Ex. 3, Order on Monsanto’s Omnibus Sargon Mot., Johnson v. Monsanto Co., No. CGC16-550128
     (Cal. Super. Ct. S.F. Cnty. May 17, 2018) (“Johnson Order”); Ex. 4, Order on Sargon Motions and
26   Motion for Summary Judgment, Pilliod v. Monsanto Co., No. RG17862702 (Cal. Super. Ct. Alameda
     Cnty. Mar. 18, 2019) (“Pilliod Order”); Ex. 5, Trial Tr. at 2103:23-2104:24, Hardeman v. Monsanto Co.,
27   3:16-cv-00525 (N.D. Cal. Mar. 14, 2019) (“Hardeman Trial Tr.”).
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                    information out of fact witnesses. So Benbrook will not be allowed
 1                  to testify on those three topics. I also think it is highly unlikely
                    that Benbrook is qualified to testify on those three topics, but I
 2                  don’t think it matters because I don’t think they are the subject of
                    expert testimony. The fourth topic it seems would be the proper
 3                  subject of expert testimony, but I don’t see how Benbrook is
                    qualified as an expert on that topic. . . .
 4

 5   Trial Tr. 2103:23-2104:14. Faced with these rulings, Plaintiffs withdrew Dr. Benbrook. Id.
 6   2104:22-24. Although Dr. Benbrook submitted a new expert report in these cases, it is evident
 7   upon only minimal scrutiny that the opinions he will offer in these cases are no different than
 8   those that this Court already found inadmissible. See, e.g., Ex. 6, 8/20/19 Benbrook Report at
 9   pp. 27-29, 120-128.3 In fact, Dr. Benbrook’s prior reports, trial and deposition testimony have
10   been incorporated into Plaintiffs’ disclosures in these cases. See Ex. 1, Plaintiff’s Rule 26 Expert
11   Disclosures.
12           Dr. Benbrook now again seeks to offer the same recycled (and improper) opinions that
13   have been previously excluded on multiple occasions. This court should reject that attempt and
14   exclude Dr. Benbrook’s opinions.
15   III.    ARGUMENT
16           A.     Legal Standard
17           A proposed expert witness must possess “knowledge, skill, experience, training, or
18   education” sufficient to qualify him as an expert on the subject to which his testimony relates.
19   Fed. R. Evid. 702. When an expert’s field of expertise is not related to the subject on which he
20   seeks to offer testimony, such testimony is inadmissible. See White v. Ford Motor Co., 312 F.3d
21   998, 1008-09 (9th Cir. 2002).
22

23   3
       Dr. Benbrook sought to offer these same opinions in two other cases: Johnson v. Monsanto Co.,
     No. CGC-16-550128 (Cal. Super. Ct. S.F. Cnty.) and Pilliod v. Monsanto Co., No. RG17862702
24   (Cal. Super. Ct. Alameda Cnty.). Both courts found that the vast majority of Dr. Benbrook’s
     purported “expert” opinions were inadmissible. In those cases, he was prohibited from testifying
25   about, among other things: (1) The “proper interpretation of documents, such as emails, or to
     argue that inferences of knowledge or intent can be derived from those documents”; (2)
26   “Monsanto’s legal obligations”; (3) “whether the EPA would have approved an amendment to
     the Roundup label,” (4) that “Monsanto misled the EPA.” Ex. 3, Johnson Order at 30; see also
27   Ex. 4, Pilliod Order at 5-7.
28
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 1            Apart from qualifications, expert testimony must be (1) based upon sufficient facts or
 2   data, (2) the product of reliable principles and methods, and (3) the result of applying those
 3   principles and methods reliable to the facts of the case. Fed. R. Evid. 702. The trial judge is
 4   charged with the responsibility of acting as a gatekeeper to “ensure that any and all scientific
 5   testimony … is not only relevant, but reliable.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
 6   579, 589 (1993). The proponent of the expert bears the burden of proving that the expert’s
 7   proffered testimony is admissible. See, e.g., Cooper v. Brown, 510 F.3d 870, 942 (9th Cir.
 8   2007).
 9            B.     Dr. Benbrook is Not Qualified to Offer Expert Testimony in These Cases.
10            Federal courts have frequently recognized that when an expert’s field of expertise is not
11   related to the subject at issue, such testimony will not aid the jury and is inadmissible. See White
12   v. Ford Motor Co., 312 F.3d 998, 1008-09 (9th Cir. 2002) (“A layman, which is what an expert
13   witness is when testifying outside his area of expertise, ought not to be anointed with ersatz
14   authority as a court-approved expert witness for what is essentially a lay opinion.”). Here, Dr.
15   Benbrook lacks expert qualifications on any of the topics on which he is proffered.
16            Dr. Benbrook is neither a scientist nor a pesticide regulator, and he has never worked for
17   a pesticide company. He has no training or degree in toxicology and has never designed or
18   conducted a toxicology study. Ex. 7, Dep. of Charles Benbrook at 19:3-6, Feb. 8, 2018, Johnson
19   v. Monsanto Co., No. CGC-16-550128 (Cal. Super. Ct. S.F. Cnty.) (“Benbrook Johnson Dep.
20   Vol. I”). And he has no education or training in epidemiology, nor has he ever designed or
21   conducted an epidemiology study. See id. at 18:20-22, 69:2-7. Rather, Dr. Benbrook’s degree is
22   in agricultural economics, and his supposedly “relevant” experience consists of a legislative
23   position he briefly held with a House Subcommittee nearly forty years ago, where he admits he
24   had no direct responsibility for regulating pesticides. Id. at 85:9-11. He is unqualified to testify
25   about his interpretations of corporate documents, about “ghostwriting,” about Monsanto’s legal,
26   moral, or ethical obligations, or its compliance with EPA registration or labeling requirements.
27

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 1           First, Dr. Benbrook lacks any qualifications to testify about the proper interpretation of
 2   Monsanto documents or draw inferences from those documents to opine on Monsanto’s state of
 3   mind, motives, and intent. Even if there were such a thing as an expert qualified to offer
 4   opinions on a company’s alleged intent (there is not—see infra Section II.C.), Dr. Benbrook is
 5   not that person. He has never been employed by any pesticide or chemical company. Ex. 7,
 6   Benbrook Johnson Dep. Vol. 1 at 41:21-42:4. He is not an expert in reading or interpreting other
 7   people’s emails. See Ex. 8, 5/10/2018 Johnson Hearing Tr. at 59:5-18 (recognizing that Dr.
 8   Benbrook is “[s]urely not” an “expert in email reading”). He is not an expert in whether a
 9   company acted ethically. He does not have a degree in corporate ethics. Ex. 7, Benbrook
10   Johnson Dep. Vol. 1 at 41:14-19. Rather, his supposed expertise is “self-taught.” Id. at 41:21-
11   42:4.
12           His opinions about what a reasonable pesticide company would do are based on his
13   review of internal Monsanto documents and his self-professed “expert[ise] in honesty” stemming
14   from his “long personal experience.” He believes that this provides “as solid a foundation to
15   judge the honesty of actions of a pesticide company, a regulator, or a non-governmental
16   organization as anyone currently active in the field.” Ex. 9, Dep. of Charles Benbrook at 431:5-
17   432:5, Feb. 9, 2018, Johnson v. Monsanto Co., No. CGC-16-550128 (Cal. Super. Ct. S.F. Cnty.)
18   (“Benbrook Johnson Dep. Vol. 2”). But, such purely subjective “personal” beliefs and opinions
19   do not qualify him as an expert and invade the province of the jury to evaluate Monsanto’s
20   conduct.
21           Second, Dr. Benbrook seeks to testify about Monsanto’s ethical, legal, and regulatory
22   duties, but he has never worked at EPA or any regulatory body, and he has never been employed
23   by a pesticide, chemical or agricultural company subject to EPA regulations.          See Ex. 7,
24   Benbrook Johnson Dep. Vol. 1 at 32:7-15; Ex. 10, 8/20/19 Benbrook Rpt. Appendix A Resume.
25   Dr. Benbrook has never conducted a pesticide label review with or for EPA.            See Ex. 7,
26   Benbrook Johnson Dep. Vol. 1 at 102:18-23. He has no training or experience preparing
27   herbicide labels for EPA review. Id. at 365:3-9; 367:5-13. He has never published anything in
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 1   the peer-reviewed literature on the labeling requirements for herbicides under the Federal
 2   Insecticide, Fungicide, and Rodenticide Act (“FIFRA”).4 Id. at 367:15-19. Dr. Benbrook has
 3   never participated in a registration review of a pesticide for EPA. Id. at 42:5-9, 155:8-11. He
 4   has never been involved with a submission to EPA for registration of an herbicide. Id. at 86:20-
 5   88:2. Moreover, Dr. Benbrook is not trained in the law or in the legal interpretation or
 6   enforcement of federal regulations. Id. at 35:13-19. He has never been involved in advising the
 7   EPA in its enforcement of FIFRA’s “adverse effects” reporting requirements for pesticide
 8   registrants, nor in assessing whether those requirements have been met. See id. at 42:13-17,
 9   131:7-9; see also Ex. 11, Dep. of Charles Benbrook at 155:10-15, Dec. 28, 2018, Hardeman v.
10   Monsanto Co., No. 3:15-c-0525-VC (N.D. Cal.) (“Benbrook Hardeman Dep.”).
11             Dr. Benbrook admitted: “I really don’t know the details of the reg[ulation]s well enough
12   to say whether [Monsanto] would be obligated to submit” a final version of a certain study report
13   to the EPA. Ex. 11, Benbrook Hardeman Dep. at 163:2-11. For this reason, it is not surprising
14   that the Johnson court found that “Dr. Benbrook’s background does not demonstrate much
15   familiarity with the EPA or Monsanto’s internal knowledge or regulatory compliance” and
16   excluded and limited his proposed opinions accordingly. Ex. 3, Johnson Order at 30 (emphasis
17   added).
18             In sum, Dr. Benbrook lacks the qualifications necessary under Federal Rule of Evidence
19   702 to opine about any of the topics referenced in his expert witness designation, and his
20   testimony should therefore be excluded.
21             C.     The Court Should Preclude Dr. Benbrook from Narrating or Summarizing
                      Monsanto Documents or Offering Opinions about Monsanto’s Intent,
22                    Motives, or State of Mind.
23             Dr. Benbrook generated the vast majority of his opinions using the supposed
24   “methodology” of reading internal Monsanto corporate documents and EPA communications,
25   4
       Pursuant to statutory directive under FIFRA, 7 U.S.C. § 136 et seq., EPA requires registrants of
26   pesticides to submit extensive data in support of the human health and environmental safety of their
     products. The agency will not register or approve the labeling of herbicides that do not satisfy the
27   requirements set forth in FIFRA. EPA has repeatedly approved Monsanto’s GBHs for sale in the United
     States from 1974 to the present without requiring any cancer warnings.
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 1   and then speculating about the intent of the authors and recipients. These opinions are not the
 2   proper subjects of expert testimony because they intrude on the role of the jury and do not
 3   require any specialized knowledge or skill outside the understanding of a layperson. Sanchez v.
 4   Boston Sci. Corp., No. 2:12-CV-05762, 2014 WL 4851989, at *32 (S.D. W. Va. Sept. 29, 2014)
 5   (“The majority of this section of Dr. Slack’s report is simply a narrative review of corporate
 6   documents, which is not helpful to the jury.”); See City of New York v. FedEx Ground Package
 7   Sys., Inc., No. 13 Civ. 9173 (ER), 2018 WL 2941455, at *4 (S.D.N.Y. Oct. 10, 2018) (excluding
 8   expert opinion where expert “relied on the same types of evidence that a jury traditionally relies
 9   upon to answer the sort of questions that a jury traditionally answers.”).
10                  1.      Dr. Benbrook Should Not Be Permitted to Narrate Company Documents.
11           An expert who merely reads or summarizes documents for the jury is not providing
12   helpful testimony because the jury is capable of reading those documents and reaching
13   conclusions about them on its own. Yet, Dr. Benbrook repeatedly offers his opinion about what
14   corporate documents written by or to Monsanto employees mean to him based on his personal
15   opinion:
16
             Q: So you reviewed these corporate documents with the MONGLY Bates numbering in
17              order to inform yourself what they say and then to tell us in your expert report what
                they mean to you, correct?
18
             A: Yes, sir.
19
             Q: And when you do that, you also, in your report in many places, characterize what
20              you believe in your personal opinion is the conduct of Monsanto or its employees or
                its consultants and whether you in your personal opinion believe the conduct is
21              acceptable is some way, correct?
22           A: Sure. Correct.
23

24   Ex. 7, Benbrook Johnson Dep. Vol. 1 at 37:4-16. Even a cursory review of Dr. Benbrook’s
25   reports demonstrates that they consist largely of the mere recitation of select company
26   documents, pieced together to paint a narrative that Plaintiff’s counsel would like to present to
27   the jury. See, e.g., Ex. 12, 12/21/17 Benbrook Rpt. at ¶¶ 305-315; 345-436; 620-630; 677-699;
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 1   743-759; 1065-1074.      Dr. Benbrook’s proposed testimony is not “expert” testimony at all,
 2   because reading and interpreting e-mails and memoranda does not require specialized knowledge
 3   or skill outside the understanding of the layman.
 4           Federal courts regularly exclude experts that offer an advocacy-based recitation of
 5   documents. In Baldonado v. Wyeth, the Northern District of Illinois precluded an expert from
 6   testifying to “narrative histories” summarizing a pharmaceutical company’s promotion of a
 7   hormone therapy drug because the testimony did not involve any “scientific, technical or other
 8   specialized knowledge.” No. 04 C 4312, 2012 WL 1802066, at *4 (N.D. Ill. May 17, 2012).
 9   The court, citing similar rulings, reasoned that:
10           [A]llowing an expert to provide summary testimony “based on nothing more than
             [the expert’s] review of certain discovery materials could give the jury the
11           impression that he did something more than simply review the materials, which
             the jury can do itself.” United States v. Vance, No. 07–CR–351, 2011 WL
12           2633842, at *5 (N.D. Ill. July 5, 2011) (citing United States v. Hall, 93 F.3d 1337,
             1343 (7th Cir. 1996) (“Unless the expertise adds something, the expert at best is
13           offering a gratuitous opinion, and at worst is exerting undue influence on the jury
             that would be subject to control under Rule 403.”)).
14

15   Id. The court in In re Rezulin Products also barred a “narrative reciting selected regulatory

16   events” because “[s]uch material, to the extent it is admissible, is properly presented through

17   percipient witnesses and documentary evidence.” 309 F. Supp. 2d at 551. It also invades the

18   jury’s core function to review the evidence and make factual determinations. See City of New

19   York, No. 13 Civ. 9173 (ER), 2018 WL 2941455, at *4 (S.D. N.Y. Oct. 10, 2018). Other courts

20   agree that such narrative testimony of company and regulatory documents is inadmissible.5

21   5
       See also In re Prempro Prods. Liab. Litig., 554 F. Supp. 2d 871, 886 (E.D. Ark. 2008) (“If an
22   expert does nothing more than read exhibits, is there really any point in her testifying as an
     expert?”); Pritchett v. I-Flow Corp., No. 09-cv-02433-WJM-KLM, 2012 WL 1059948, at *7 (D.
23   Colo. Mar. 28, 2012) (“The Court must recognize the inherent power of expert testimony in
     determining whether to allow an expert to summarize documents that the jury could just as easily
24   summarize itself. Allowing an expert witness to do so may imprint the documents with ‘a tilt
     favoring a litigant,’ which hinders impartial adjudication of the merits instead of promoting it.”
25   (citing In re Prempro, 554 F. Supp. 2d at 887)); Scentsational Techs., LLC, 2018 WL 1889763,
     at *4 (holding that expert cannot opine on a party’s state of mind or narrate documents; it is
26   “inappropriate for experts to act as a vehicle to present a factual narrative of interesting or useful
     documents for a case, in effect simply accumulating and putting together one party’s ‘story’”); In
27   re Seroquel Prods. Liab. Litig., No. 6:06-md-1769-Orl-22DAB, 2009 WL 3806436, at *4 (M.D.
     Fla. July 20, 2009) (“Plaintiffs’ counsel may not simply use these expert witnesses to provide a
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 1           In short, Dr. Benbrook’s testimony is nothing more than the improper narration of
 2   documents (of which he has no personal knowledge) under the pretext of expert opinion. It
 3   should be excluded.
 4                  2.      Dr. Benbrook Should Not Be Permitted to Speculate About Monsanto’s
 5                          Motive, Intent, or State of Mind, or to Offer His Personal “Interpretation”
 6                          of Documents Based on Such Speculation.
 7           Even a properly qualified expert may not opine as to the intent, motive, or state of mind
 8   of a corporation or its employees, because that would substitute the expert’s judgment for the
 9   jury’s. See, e.g., Oracle America Inc., et al. v. Hewlett Packard Enterprise Co., No. 16-cv-
10   01393-JST, 2018 WL 6511146, at *3 (N.D. Cal. Dec. 11, 2018) (“Courts routinely exclude as
11   impermissible expert testimony as to intent motive, or state of mind” because such testimony
12   “would be merely substituting the expert’s judgment for the jury’s . . .” (quotations and citations
13   omitted)); In re C.R. Bard, Inc., Pelvic Repair System Prods. Liab. Litig., MDL No. 2187, 2018
14   WL 4212409, at *3 (S.D. W.Va. Sept. 4, 2018) (defendant’s “knowledge, state of mind, or other
15   matters related to corporate conduct are not appropriate subjects of expert testimony. . .”);
16   Deutsch v. Novartis Pharm. Corp., 768 F. Supp. 2d 420, 442 (E.D.N.Y. 2011) (“[O]pinions of
17   expert witnesses on the intent, motives, or states of mind of corporations, regulatory agencies, or
18   others have no basis in any relevant body of knowledge or expertise.”). As these authorities
19   recognize, an expert who purports to know what a company (or its employees) was thinking is
20   speculating, and such testimony would not be helpful to the jury.
21           Dr. Benbrook himself recognizes that it is not possible to glean a person’s intent or
22   motive merely from reading an email:
23           Q: So it’s not possible to review the e-mail and understand exactly what was said or
                what people’s intent or motivation was; correct?
24
             A: Correct.
25

26
     narrative history of [the defendant’s] marketing and labeling practices ....”); Lopez v. I-Flow Inc.,
27   No. CV 08-1063-PHX-SRB, 2011 WL 1897548, at *10 (D. Ariz. Jan. 26, 2011).
28
     12719704.1                                     -9-
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 1   Ex. 11, Benbrook Hardeman Dep. at 340:23-341:2 (objection omitted). Nonetheless, his expert
 2   report and deposition testimony are replete with his personal opinions as to the motives and state
 3   of mind of Monsanto and third parties based on his personal interpretation of company and EPA
 4   documents that he did not author or receive. For example:
 5
             •      “The record shows some unusually close and inappropriate communications
 6                  between Jess Rowland and Monsanto on the general topic of OPP’s evaluation of
                    glyphosate oncogenicity.” Ex. 11, Benbrook Hardeman Dep. at 233:18-21. See
 7                  also id. at 234:16-235:17 (testifying that he found an e-mail “very curious and
                    suggestive,” which “tipped [him] off” to “perhaps an undue influence” by
 8                  Monsanto on members of a committee).
 9           •      “Q: How do you know that TNO [contract laboratory in Denmark] would have
                    deleted the findings?
10
                    A: How do I know? Well, I guess I don’t. I’m not part of their organization. I
11                  don’t know what their policies are. . . .” Ex. 11, Benbrook Hardeman Dep. at
                    172:10-20 (emphasis added; objection omitted).
12
             •      “EPA could have initiated a cancellation action for Monsanto’s failure to comply
13                  with a requirement in the 1986 registration standard.... [T]hey did not do it
                    because they felt that it was not a significant enough of a concern to entail the
14                  administrative and political cost of trying to cancel a widely-used herbicide.” Ex.
                    11, Benbrook Hardeman Dep. at 182:23-183:6.
15
             •      “A: . . . -- you know, people in the scientific community would regard the
16                  acknowledgment statement as inadequate.
17                  Q: . . . Other than you and the other scientists paid by the plaintiffs’ lawyers in the
                    glyphosate litigation, can you identify a single scientist anywhere in the world
18                  that has looked at this acknowledgement and said it’s an improper
                    acknowledgment of interest? Yes or no?
19
                    A: I haven’t -- I can’t, and I haven’t tried.” Ex. 13, Dep. of Dr. Charles
20                  Benbrook, Sept. 13, 2018, Adams v. Monsanto Co., Case No. 17SL-CC02721
                    (“Benbrook Adams Dep.”) at 132:12-24.
21

22           Dr. Benbrook has been admonished and precluded from offering precisely this sort of
23   testimony impugning the motives of a company based on a tale spun from internal documents:
24           Dr. Benbrook has never worked inside DuPont nor done any consulting work for
             the company. He claims he has become an expert on DuPont by reading
25           documents produced in this litigation. But that is akin to studying the Grand
             Canyon by looking at its depiction in an old-fashioned peeping-type Easter egg.
26           The view is sharp only because it is so narrow. It is not enough to make Dr.
             Benbrook an expert on DuPont.
27

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     12719704.1                                     - 10 -
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 1   Adams v. United States, Civ. No. 03-0049-E-BLW, 2009 WL 1324231, at *1 (D. Idaho May 8,
 2   2009) (holding that “Dr. Benbrook cannot testify about DuPont’s corporate intent”).                 Dr.
 3   Benbrook’s speculation about what Monsanto or its employees knew, thought, or intended is not
 4   admissible expert testimony.
 5           D.      Dr. Benbrook Should Not Be Permitted to Offer His Opinions as to
 6                   Monsanto’s Ethics or Compliance with Ethical Obligations.
 7           Dr. Benbrook also should not be permitted to offer his opinions about Monsanto’s
 8   corporate ethics or compliance with ethical obligations. For example, Dr. Benbrook admits that
 9   Monsanto had no legal obligation under EPA regulations to place an oncogenicity warning on its
10   Roundup labels, yet he opines that Monsanto had a “moral and ethical obligation” to do so. See
11   Ex. 11, Benbrook Hardeman Dep. at 239:1-24; 241:10-242:4; 279:20-22 (“Monsanto has not
12   done as much as it should have to discourage overstatements of the safety of glyphosate-based
13   herbicides.”); id. at 237:3-11 (testifying as to his opinion about what a “prudent company” would
14   have done).6 Remarkably, Dr. Benbrook has claimed that he should be allowed to offer this
15   opinion because he is a self-professed “expert in honesty”:
16           Q: You’ve also commented a number of times both in your report and now again today at
                least once, about whether a particular individual or company, whether it be Monsanto
17              or anybody else at the agency, is honest. Are you claiming you’re an expert in
                honesty?
18
             A: Yes. Yes. I’m an expert in honesty.
19

20   Ex. 9, Benbrook Johnson Dep. Vol. 2 at 430:25-431:7 (emphasis added). Dr. Benbrook is no
21   more of an “expert in honesty” than the jurors who will decide this case. Plaintiff is not entitled
22   to have a partisan with the Court’s imprimatur of “expert witness” narrate company documents
23

24   6
      See also Ex. 12, 12/21/17 Benbrook Rpt. at ¶ 152 (Monsanto’s “repeated failures to assist regulators in
     developing more accurate assessments of worker-safety risks is a clear and consequential breach of the
25   company’s pledge to adhere to the best science available, and serve as a responsible steward of Roundup
     herbicide products.”); id. at ¶ 902 (“The discovery record in this case shows clearly that violation of
26   widely accepted ethical norms in scientific publishing was a routine, accepted part of the culture at
     Monsanto. Over several decades, such actions were conceived and implemented in the interest of
27   heightening the ‘credibility/impact’ of scientific papers the company commissioned and controlled.”).
28
     12719704.1                                      - 11 -
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 1   and place his own spin on them. And his testimony that the EPA or Monsanto acted unethically
 2   or otherwise inappropriately will carry undue weight and thus prejudice Monsanto. See In re
 3   Bard IVC Filters Prods. Liab. Litig., No. 15-02641, 2018 WL 495187 (D. Az. Jan. 22, 2018)
 4   (precluding expert from testifying about corporate behavior, corporate ethics, and what he
 5   believed a responsible manufacturer would have done).
 6           E.      Dr. Benbrook’s Opinions on Legal or Regulatory Duties Should Be
 7                   Excluded.
 8           Dr. Benbrook also seeks to offer his opinion that Monsanto failed to comply with its legal
 9   or regulatory obligations.7 In addition to Dr. Benbrook’s lack of relevant qualifications (see
10   Section A, supra), these opinions should be excluded because they lack the necessary foundation
11   and invade the province of this Court to instruct the jury on the law, and of the jury to decide
12   Monsanto’s compliance with that law. See Ex. 3, Johnson Order at 30.
13                   1.      Dr. Benbrook’s Opinions Regarding Monsanto’s Compliance with Legal
14                           Duties and EPA Regulations Are Improper and Preempted.
15           Dr. Benbrook seeks to opine that Monsanto violated federal law and EPA regulations,
16   including FIFRA § 6(a)(2)’s “adverse effects reporting requirement,” and that “Monsanto failed
17   to warn about the risk of NHL, other forms of cancer, or damage to the liver or kidneys,
18   stemming from the use of Ranger Pro and Roundup Pro.” Ex. 12, 12/21/17 Benbrook Rpt. at ¶¶
19   23, 573; Ex. 6, 8/20/2019 Benbrook Rpt. At ¶ 901. Without any foundation, Dr. Benbrook
20   imposes precise legal duties on Monsanto and then opines that Monsanto breached those duties:
21           A:      Well, it’s the responsibility of the pesticide registrant to include on the label use
                     instructions and guidance and restrictions and warning that, taken together, if
22                   adhered to, will prevent unreasonable adverse effects on man or the environment.
                     . . So it is the – it is the company’s direct responsibility to assure that the label
23                   instructions and requirements and restrictions accomplish that goal. And in the
                     event of a label not accomplishing that goal, it – the label can be characterized as
24                   misbranded.
25

26   7
       See, e.g., Ex. 12, 12/21/17 Benbrook Rpt. at section 2 (Monsanto’s “Failure to Adequately Warn and
     Prevent Risks is Misbranding”); id. at ¶ 706 (“Monsanto failed to provide the Parry Report to the EPA as
27   required under 40 CFR § 159.158.”).
28
     12719704.1                                      - 12 -
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             Q.      (By Mr. Wool) And it can be misbranded regardless of whether the EPA approved
 1                   the label or not, correct?
 2           A.      Oh, absolutely.
 3   Ex. 13, Benbrook Adams Dep. at 189:3-20.
 4           Dr. Benbrook has no actual expertise on FIFRA § 6(a)(2), his opinions are derived from a
 5   selective review of corporate emails, and his opinions as to Monsanto’s compliance with
 6   regulations and federal law are not the proper subject of expert testimony. The Johnson court
 7   thus held that Dr. Benbrook “may not opine on Monsanto’s legal obligations.” Ex. 3, Johnson
 8   Order at 30. The same result should follow here. See, e.g., Lukov v. Schindler Elevator Corp.,
 9   No. 5:11-cv-00201 EJD, 2012 WL 2428251, at *2 (N.D. Cal. June 26, 2012) (excluding expert
10   testimony on legal issue); United States v. Smith, 573 F.3d 639, 655 (8th Cir. 2009) (“Moreover,
11   it is ‘the judge and not a witness’ that ‘is to instruct the fact finder on the applicable principles of
12   law.’”).
13           Furthermore, any claim that Monsanto violated federal law and EPA regulations is
14   preempted. There is no private right of action to enforce claimed violations of EPA regulations,
15   as EPA has the sole power to determine whether its regulations are followed. See Papas v.
16   Upjohn Co., 985 F.2d 516, 519 (11th Cir. 1993) (“[I]t is for the EPA Administrator, not a jury, to
17   determine whether labelling and packaging information is incomplete or inaccurate, and if so
18   what label changes, if any, should be made.”); see also Buckman Co. v. Plaintiffs’ Legal Comm.,
19   531 U.S. 341, 352-53 (2001) (holding plaintiffs’ claims were preempted because there is no
20   private right of action for violations of the Food, Drug & Cosmetic Act); Nathan Kimmel, Inc. v.
21   Dowelanco, 275 F.3d 1199, 1205, 1208 (9th Cir. 2002) (finding that the “rationale articulated by
22   the Supreme Court in Buckman applies” to EPA and that EPA has enforcement powers for
23   violation of its regulations, including “elaborate internal hearing and appellate review procedures
24   to determine whether a registrant has violated any provision of FIFRA”). Opining on whether
25   Monsanto complied with a regulatory standard on registration matters invades the exclusive
26   province of the EPA.
27

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 1             Similarly, to the extent Dr. Benbrook seeks to opine that Monsanto defrauded or misled
 2   the EPA, such testimony should be excluded because he “brings no relevant expertise to the table
 3   on that issue.” Ex. 3, Johnson Order at 31; see also Section B, supra. Moreover, Dr. Benbrook
 4   has admitted that he is not aware of the EPA ever finding that Monsanto misrepresented anything
 5   regarding the safety of its GBHs. Ex. 14, Dep. of Dr. Charles Benbrook, May 23, 2018, Hall v.
 6   Monsanto Co., No. 1622-CC01071 (“Benbrook Hall Dep. Vol. 1”) at 150:11-15. Additionally,
 7   any claims that Monsanto defrauded or misled the EPA are preempted by federal law, and thus
 8   testimony on that issue is irrelevant. 8
 9             Therefore, Dr. Benbrook should be precluded from offering any testimony on alleged
10   violations of EPA regulations or on alleged fraud on the EPA.
11                     2.     Dr. Benbrook Improperly Speculates About What Monsanto Should Have
12                            Done Differently and About the Customs and Practice of EPA, Including
13                            What Warnings or Labeling Might Have Been Accepted by EPA.
14             Dr. Benbrook also should not be permitted to testify as to what he thinks Monsanto
15   should have done differently—such as conducting different or additional testing or providing
16   different warnings—or whether EPA would have accepted such warnings.                   His report and
17   deposition testimony are rife with speculation about what warnings should have been included
18   and the EPA’s practices and/or customs regarding warnings, often dating back decades:
19
               •       “Monsanto could have peripherally put a statement on its label that there’s some
20                     evidence of potential to cause oncogenic risk from one of the studies submitted,
                       and in an abundance of caution, we’ve added additional PPE. And I am quite
21                     certain that OPP would not object to the addition of such language on a label.”9
22             •       Beginning in 1999 Monsanto could and should have added a warning to their
                       labels, and otherwise informed the public, that exposure to formulated glyphosate
23

24
     8
       See Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001) (holding that state-law fraud-on-
     the-FDA claims were impliedly preempted); see also Nathan Kimmel, Inc. v. Dowelanco, 275 F.3d 1199,
25   1205, 1208 (9th Cir. 2002) (finding that the “rationale articulated by the Supreme Court in Buckman
     applies” to EPA “cases involving fraud-on-the-agency labeling allegations”); Giglio v. Monsanto Co., No.
26   15-cv-2279 BTM (NLS), 2016 WL 1722859, at *3 (S.D. Cal. Apr. 29, 2016) (“Plaintiff’s claims based on
     failure to warn the EPA of the dangers of Roundup are preempted.”).
27   9
         Ex. 9, Benbrook Johnson Dep. Vol. 2 at 473:15-24 (emphasis added).
28
     12719704.1                                       - 14 -
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                       products can cause oxidative stress and lead to genotoxic damage. In lay terms,
 1                     such a warning might state “exposure to this product can damage cells and trigger
                       disease.”10
 2

 3             Dr. Benbrook lacks the qualifications necessary to opine about what warnings should
 4   have been included under EPA regulations or what warnings EPA may or may not have
 5   accepted. As Judge Karnow noted, “Dr. Benbrook’s background does not demonstrate much
 6   familiarity with EPA or . . . regulatory compliance.” Ex. 3, Johnson Order at 30.
 7             Moreover, Dr. Benbrook’s labeling and warning opinions are contrary to the repeated
 8   EPA determinations that glyphosate is not carcinogenic to humans, and contrary to his own
 9   testimony that label directions and precautions are intended to reflect the risk assessments of
10   EPA’s Office of Pesticide Programs. Ex. 9, Benbrook Johnson Dep. Vol. 2 at 400:18-401:4. For
11   example, Dr. Benbrook agreed that EPA determined that glyphosate-based herbicides are not
12   genotoxic, and agreed that EPA could, at any time, demand that Monsanto conduct further
13   genotoxicity testing on its glyphosate-based herbicides, but it has never done so.11 See id. at
14   466:5-13, 481:4-16. Dr. Benbrook also admitted that Monsanto has satisfied all EPA-required
15   toxicology data requirements. See, e.g., Ex. 7, Dep. of Charles Benbrook, Feb. 8, 2018, Johnson
16   v. Monsanto Co., No. CGC-16-550128 (Cal. Super. Ct. S.F. Cnty.) (“Benbrook Johnson Dep.
17   Vol. 1”) at 128:21-130:2; Ex. 14, Benbrook Hall Dep. Vol. 1 at 110:24-111:5, 115:23-116:2.
18             Dr. Benbrook should not be permitted to present these opinions to the jury, as they
19   suggest that Monsanto had legal or other obligations to act differently, and they invade the role
20   of the Court to instruct the jury on the law. See, e.g., Nationwide Transp. Fin. v. Cass Info. Sys.,
21   10
          Ex. 12, 12/21/17 Benbrook Rpt. ¶ 55 (emphasis added).
22   11
        Dr. Benbrook’s testimony about what warnings should have been included on the labels or what
     warnings EPA may or may not have accepted are preempted under the impossibility preemption doctrine
23   because there is clear evidence that EPA would reject any attempt by Monsanto to add a cancer warning
     to the applicable Roundup label or change its formulation. Courts have held that claims are preempted
24   when the evidence shows that the federal regulatory agency had considered the safety risk but
     nevertheless rejected concerns about that risk. See Cerveny v. Aventis, Inc., 855 F.3d 1091, 1105 (10th
25   Cir. 2017); Robinson v. McNeil Consumer Healthcare, 615 F.3d 861, 873 (7th Cir. 2010); Rheinfrank v.
     Abbott Labs., Inc., 119 F. Supp. 3d 749, 766, 769-70 (S.D. Ohio 2015), aff’d, 680 F. App’x 369, 384-88
26   (6th Cir. 2017); Seufert v. Merck Sharp & Dohme Corp., 187 F. Supp. 3d 1163, 1173-74, 1177 (S.D. Cal.
     2016). Preemption is discussed at length in the contemporaneously filed Memo. in Support of Monsanto’s
27   Motion for Summary Judgement and is incorporated herein.
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 1   Inc., 523 F.3d 1051 (9th Cir. 2008) (affirming motion to strike expert because expert’s legal
 2   conclusion invaded province of trial judge in instructing jury on legal issues and expert
 3   improperly testified as to how law applied to facts of case). These opinions also amount to
 4   speculation and improperly invade the jury’s role as the decision-maker on the adequacy of
 5   Monsanto’s actions under applicable law. See Mueller v. Bauer, 54 S.W.3d 652, 657 (Mo. App.
 6   E.D. 2001) (“When an expert merely testifies that a given action or failure to act ‘might’ or
 7   ‘could have’ yielded a given result . . . such testimony is devoid of evidentiary value.”); see also
 8   Johnson Order at 30 (ruling that Dr. Benbrook “may not offer an opinion as to whether the EPA
 9   would have approved an amendment to the Roundup label,” as he “has no specific expertise
10   pertaining to the EPA’s approval of amended labels”).
11   IV.     CONCLUSION
12           For the reasons set forth above, the Court should grant this Motion and exclude the
13   opinions proffered by Dr. Charles Benbrook in their entirety because he lacks the necessary
14   qualifications to offer them and they are not the proper subject of expert testimony. At the very
15   least, Dr. Benbrook should not be permitted to (1) narrate or summarize Monsanto or EPA
16   documents and provide his subjective “interpretation” about those documents or his opinions
17   about the authors’ intent, motives, or states of mind; or (2) offer opinions on Monsanto’s legal,
18   ethical, or regulatory obligations or its compliance therewith.
19

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 1                                    CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on this 26th day of November, 2019, a copy of the foregoing
 3   was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4   to all appearing parties of record.
 5                                                                    /s/ Brian L. Stekloff
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